86 F.3d 1150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vicker GARDINER, Petitioner-Appellant,v.COMMONWEALTH of Virginia, Respondent-Appellee.
    No. 96-6094.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  June 4, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   T.S. Ellis, III, District Judge.  (CA-95-1482-AM)
      E.D.Va.
      DISMISSED.
      Vicker Gardiner, Appellant Pro Se.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Gardiner v. Virginia, No. CA-95-1482-AM (E.D.Va. Dec. 8, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    